DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                Case 6:23-bk-14326-WJ                   Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                     Desc
                                                        Main Document    Page 1 of 33

Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                17985 Bear Valley Road LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  17985 Bear Valley Rd
                                  Hesperia, CA 92345
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Bernardino                                                  Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                 Case 6:23-bk-14326-WJ                      Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                    Desc
                                                            Main Document    Page 2 of 33
Debtor    17985 Bear Valley Road LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                 Case 6:23-bk-14326-WJ                           Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                       Desc
                                                                 Main Document    Page 3 of 33
Debtor    17985 Bear Valley Road LLC                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

 Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                 Case 6:23-bk-14326-WJ           Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                             Desc
                                                 Main Document    Page 4 of 33
Debtor    17985 Bear Valley Road LLC                                                  Case number (if known)
          Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




 Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                 Case 6:23-bk-14326-WJ                  Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                       Desc
                                                        Main Document    Page 5 of 33
Debtor    17985 Bear Valley Road LLC                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 21, 2023
                                                  MM / DD / YYYY


                             X /s/ Norik Bagramian                                                        Norik Bagramian
                                 Signature of authorized representative of debtor                         Printed name

                                 Title




18. Signature of attorney    X /s/ Sammy Zreik, Esq                                                        Date September 21, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Sammy Zreik, Esq
                                 Printed name

                                 Whitbeck, Kooshki & Zreik LLP
                                 Firm name

                                 21515 Hawthorne Blvd. Suite 1130
                                 Torrance, CA 90503
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     888-972-9477                  Email address      sammy.zreik@wkzlaw.com

                                 249020 CA
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
               Case 6:23-bk-14326-WJ                     Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                    Desc
                                                         Main Document    Page 6 of 33




     Fill in this information to identify the case:

     Debtor name        17985 Bear Valley Road LLC

     United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
    form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
    amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
    and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
    1519, and 3571.



                 Declaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
          individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                   Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                   Schedule H: Codebtors (Official Form 206H)
                   Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                   Amended Schedule
                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                   Other document that requires a declaration

          I declare under penalty of perjury that the foregoing is true and correct.

           Executed on        September 21, 2023             X
                                                                 Signature of individual signing on behalf of debtor

                                                                 Norik Bagramian
                                                                 Printed name

                                                                 Managing Member
                                                                 Position or relationship to debtor




    Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                     Case 6:23-bk-14326-WJ               Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                                  Desc
                                                         Main Document    Page 7 of 33

  Fill in this information to identify the case:
  Debtor name 17985 Bear Valley Road LLC
  United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                 Check if this is an
                                                 CALIFORNIA
  Case number (if known):                                                                                                                     amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
 Are Not Insiders                                                                           12/15

 A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
 debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
 include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
 among the holders of the 20 largest unsecured claims.

  Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
  County of San                                       Property Taxes                                                                                              $12,738.64
  Bernardino-Treasur
  er
  268 W. Hospitality
  Lane,
  First Floor
  San Bernardino, CA
  92415
  US Metro Bank                                       17985 Bear Valley                                  $3,198,150.00             $1,900,000.00              $1,298,150.00
  9866 Garden Grove                                   Rd., Hesperia, Ca
  Garden Grove, CA                                    92345
  92844                                               APN 0399-132-31




 Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
               Case 6:23-bk-14326-WJ                       Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                               Desc
                                                           Main Document    Page 8 of 33
                                                          United States Bankruptcy Court
                                                                 Central District of California
     In re    17985 Bear Valley Road LLC                                                                              Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                      LIST OF EQUITY SECURITY HOLDERS
    Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

     Name and last known address or place of                    Security Class Number of Securities                              Kind of Interest
     business of holder

     -NONE-



    DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

            I, the of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
    foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



     Date September 21, 2023                                                 Signature /s/ Norik Bagramian
                                                                                            Norik Bagramian

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




    Sheet 1 of 1 in List of Equity Security Holders
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
               Case 6:23-bk-14326-WJ                      Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                                   Desc
                                                          Main Document    Page 9 of 33


                                     STATEMENT OF RELATED CASES
                                  INFORMATION REQUIRED BY LBR 1015-2
                   UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
    1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
       against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
       copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
       corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
       and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
       assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
       included in Schedule A/B that was filed with any such prior proceeding(s).)
     None

    2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
       Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
       debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
       debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
       complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
       and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
       any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
     None

    3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
       previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
       of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
       of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
       or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
       such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
       still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
       A/B that was filed with any such prior proceeding(s).)
     None

    4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
       been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
       proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
       pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
       that was filed with any such prior proceeding(s).)
     None


    I declare, under penalty of perjury, that the foregoing is true and correct.
     Executed at                                                       , California.                     /s/ Norik Bagramian
                                                                                                         Norik Bagramian
     Date:           September 21, 2023                                                                  Signature of Debtor 1



                                                                                                          Signature of Debtor 2




                      This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

    October 2018                                                              Page 1              F 1015-2.1.STMT.RELATED.CASES
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                   Case 6:23-bk-14326-WJ                                        Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                                                    Desc
                                                                                Main Document    Page 10 of 33
     Fill in this information to identify the case:

     Debtor name            17985 Bear Valley Road LLC

     United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                                                                           Check if this is an
                                                                                                                                                                                           amended filing



    Official Form 206Sum
    Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

     Part 1:      Summary of Assets


     1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

           1a. Real property:
               Copy line 88 from Schedule A/B.............................................................................................................................                  $        2,050,000.00

           1b. Total personal property:
               Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

           1c. Total of all property:
               Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,050,000.00


     Part 2:      Summary of Liabilities


     2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
           Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,198,150.00


     3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

           3a. Total claim amounts of priority unsecured claims:
               Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            12,738.64

           3b. Total amount of claims of nonpriority amount of unsecured claims:
               Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$                    0.00


     4.    Total liabilities .......................................................................................................................................................
           Lines 2 + 3a + 3b                                                                                                                                                           $           3,210,888.64




     Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
    Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
               Case 6:23-bk-14326-WJ                  Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                Desc
                                                      Main Document    Page 11 of 33
     Fill in this information to identify the case:

     Debtor name     17985 Bear Valley Road LLC

     United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                             Check if this is an
                                                                                                                             amended filing



    Official Form 206A/B
    Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
    Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
    Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
    which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
    or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
    the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
    additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

     For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
     schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
     debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
     Part 1:      Cash and cash equivalents
    1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
       All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                             debtor's interest

     Part 2:     Deposits and Prepayments
    6. Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
          Yes Fill in the information below.


     Part 3:     Accounts receivable
    10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes Fill in the information below.


     Part 4:     Investments
    13. Does the debtor own any investments?

          No. Go to Part 5.
          Yes Fill in the information below.


     Part 5:     Inventory, excluding agriculture assets
    18. Does the debtor own any inventory (excluding agriculture assets)?

          No. Go to Part 6.
          Yes Fill in the information below.


     Part 6:     Farming and fishing-related assets (other than titled motor vehicles and land)
    27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

          No. Go to Part 7.
    Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                             page 1
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                 Case 6:23-bk-14326-WJ                   Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                  Desc
                                                         Main Document    Page 12 of 33
     Debtor        17985 Bear Valley Road LLC                                                  Case number (If known)
                   Name


           Yes Fill in the information below.


     Part 7:       Office furniture, fixtures, and equipment; and collectibles
    38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

           No. Go to Part 8.
           Yes Fill in the information below.


     Part 8:       Machinery, equipment, and vehicles
    46. Does the debtor own or lease any machinery, equipment, or vehicles?

           No. Go to Part 9.
           Yes Fill in the information below.


     Part 9:       Real property
    54. Does the debtor own or lease any real property?

           No. Go to Part 10.
           Yes Fill in the information below.

     55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

                Description and location of           Nature and             Net book value of             Valuation method used   Current value of
                property                              extent of              debtor's interest             for current value       debtor's interest
                Include street address or other       debtor's interest      (Where available)
                description such as Assessor          in property
                Parcel Number (APN), and type
                of property (for example,
                acreage, factory, warehouse,
                apartment or office building, if
                available.
                55.1. 17985 Bear Valley
                         Rd., Hesperia, Ca
                         92345
                         APN 0399-132-31              Fee Simple                        Unknown            Appraisal                       $1,900,000.00


                55.2.    Vacant Land adjacent
                         to 17985 Bear Valley
                         Road
                         Hesperia, Ca 92345
                         APN
                         0399-132-10-0-000            Fee simple                        Unknown            Appraisal                         $150,000.00




     56.        Total of Part 9.                                                                                                        $2,050,000.00
                Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
                Copy the total to line 88.

     57.        Is a depreciation schedule available for any of the property listed in Part 9?
                   No
                   Yes

     58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
                   No
                   Yes

     Part 10:      Intangibles and intellectual property
    59. Does the debtor have any interests in intangibles or intellectual property?
    Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                              page 2
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                Case 6:23-bk-14326-WJ                   Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                  Desc
                                                        Main Document    Page 13 of 33
     Debtor      17985 Bear Valley Road LLC                                                    Case number (If known)
                 Name



          No. Go to Part 11.
          Yes Fill in the information below.


     Part 11:    All other assets
    70. Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

          No. Go to Part 12.
          Yes Fill in the information below.




    Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                       page 3
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                  Case 6:23-bk-14326-WJ                                Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                                 Desc
                                                                       Main Document    Page 14 of 33
     Debtor          17985 Bear Valley Road LLC                                                                          Case number (If known)
                     Name



     Part 12:        Summary

    In Part 12 copy all of the totals from the earlier parts of the form
          Type of property                                                                               Current value of                    Current value of real
                                                                                                         personal property                   property

     80. Cash, cash equivalents, and financial assets.
         Copy line 5, Part 1                                                                                                     $0.00

     81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

     82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

     83. Investments. Copy line 17, Part 4.                                                                                      $0.00

     84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

     85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

     86. Office furniture, fixtures, and equipment; and collectibles.
         Copy line 43, Part 7.                                                                                                   $0.00

     87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

     88. Real property. Copy line 56, Part 9.........................................................................................>                      $2,050,000.00

     89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

     90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

     91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.            $2,050,000.00


     92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,050,000.00




    Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                        page 4
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                 Case 6:23-bk-14326-WJ                          Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                         Desc
                                                                Main Document    Page 15 of 33
     Fill in this information to identify the case:

     Debtor name         17985 Bear Valley Road LLC

     United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

    Official Form 206D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
    Be as complete and accurate as possible.
    1. Do any creditors have claims secured by debtor's property?
            No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
            Yes. Fill in all of the information below.
     Part 1:     List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
     2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
     claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
     2.1   US Metro Bank                                Describe debtor's property that is subject to a lien               $3,198,150.00             $1,900,000.00
           Creditor's Name                              17985 Bear Valley Rd., Hesperia, Ca 92345
                                                        APN 0399-132-31
           9866 Garden Grove
           Garden Grove, CA 92844
           Creditor's mailing address                   Describe the lien
                                                        Deed of Trust
                                                        Is the creditor an insider or related party?
                                                           No
           Creditor's email address, if known               Yes
                                                        Is anyone else liable on this claim?
           Date debt was incurred                          No
           07/01/2019                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number
           7006
           Do multiple creditors have an                As of the petition filing date, the claim is:
           interest in the same property?               Check all that apply
               No                                          Contingent
               Yes. Specify each creditor,                 Unliquidated
           including this creditor and its relative        Disputed
           priority.



     2.2   US Metro Bank                                Describe debtor's property that is subject to a lien                          $0.00            $150,000.00
           Creditor's Name                              Vacant Land adjacent to 17985 Bear Valley
                                                        Road
                                                        Hesperia, Ca 92345
           9866 Garden Grove                            APN 0399-132-10-0-000
           Garden Grove, CA 92844
           Creditor's mailing address                   Describe the lien
                                                        Deed of Trust
                                                        Is the creditor an insider or related party?
                                                           No
           Creditor's email address, if known               Yes
                                                        Is anyone else liable on this claim?
           Date debt was incurred                          No
           July 1, 2019                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number
           7006
           Do multiple creditors have an                As of the petition filing date, the claim is:
           interest in the same property?               Check all that apply

    Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                 Case 6:23-bk-14326-WJ                      Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                             Desc
                                                            Main Document    Page 16 of 33
     Debtor      17985 Bear Valley Road LLC                                                         Case number (if known)
                 Name

               No                                      Contingent
               Yes. Specify each creditor,             Unliquidated
           including this creditor and its relative    Disputed
           priority.



                                                                                                                             $3,198,150.0
     3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    0

     Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
     List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
     assignees of claims listed above, and attorneys for secured creditors.

     If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
             Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                                   you enter the related creditor?   account number for
                                                                                                                                                     this entity
            American Default Management
            415 N. Camden Dr. Unit 8                                                                          Line   2.1
            Beverly Hills, CA 90210

            Law Offices of Park & Lim
            3530 Wilshire Blvd Suite 1300                                                                     Line   2.1
            Los Angeles, CA 90010




    Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                  Case 6:23-bk-14326-WJ                       Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                                       Desc
                                                              Main Document    Page 17 of 33
     Fill in this information to identify the case:

     Debtor name        17985 Bear Valley Road LLC

     United States Bankruptcy Court for the:          CENTRAL DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


    Official Form 206E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
    Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
    2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

     Part 1:      List All Creditors with PRIORITY Unsecured Claims

           1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

                 No. Go to Part 2.

                 Yes. Go to line 2.

           2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
              with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

     2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                  $12,738.64           $12,738.64
               County of San                                       Check all that apply.
               Bernardino-Treasurer                                   Contingent
               268 W. Hospitality Lane,                               Unliquidated
               First Floor                                            Disputed
               San Bernardino, CA 92415
               Date or dates debt was incurred                     Basis for the claim:
               Tax Year 2022                                       Property Taxes

               Last 4 digits of account number 0000                Is the claim subject to offset?

               Specify Code subsection of PRIORITY                    No
               unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes



     Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
         3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
            out and attach the Additional Page of Part 2.
     3.1    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                                     Contingent
                                                                                     Unliquidated
               Date or dates debt was incurred
                                                                                     Disputed
               Last 4 digits of account number
                                                                                 Basis for the claim:

                                                                                 Is the claim subject to offset?           No     Yes


     Part 3:      List Others to Be Notified About Unsecured Claims

    4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

               Name and mailing address                                                                    On which line in Part1 or Part 2 is the              Last 4 digits of
                                                                                                           related creditor (if any) listed?                    account number, if
                                                                                                                                                                any

     Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

    5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                Total of claim amounts

    Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                              page 1 of 2
                                                                                                                   37949
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                Case 6:23-bk-14326-WJ         Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                          Desc
                                              Main Document    Page 18 of 33
     Debtor     17985 Bear Valley Road LLC                                       Case number (if known)
                Name

     5a. Total claims from Part 1                                                  5a.       $            12,738.64
     5b. Total claims from Part 2                                                  5b.   +   $                 0.00

     5c. Total of Parts 1 and 2
         Lines 5a + 5b = 5c.                                                       5c.       $              12,738.64




    Official Form 206 E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                               Page 2 of 2
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
               Case 6:23-bk-14326-WJ                     Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                         Desc
                                                         Main Document    Page 19 of 33
     Fill in this information to identify the case:

     Debtor name      17985 Bear Valley Road LLC

     United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing


    Official Form 206G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
    Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

    1.   Does the debtor have any executory contracts or unexpired leases?
           No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
    (Official Form 206A/B).

     2. List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

     2.1.      State what the contract or             Lease Ageement by
               lease is for and the nature of         and between 17985
               the debtor's interest                  Bear Valley Rd LLC and
                                                      VIP Quick Car Wash
                                                      and Lube Inc.,
                   State the term remaining           21 years
                                                                                        VIP Quick Car Wash and Lube Inc.
               List the contract number of any                                          17985 Bear Valley Rd.
                     government contract                                                Hesperia, CA 92345




    Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 1
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
               Case 6:23-bk-14326-WJ                   Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                      Desc
                                                       Main Document    Page 20 of 33
     Fill in this information to identify the case:

     Debtor name      17985 Bear Valley Road LLC

     United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing


    Official Form 206H
    Schedule H: Your Codebtors                                                                                                                      12/15

    Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
    Additional Page to this page.

         1. Do you have any codebtors?

        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes

      2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
         creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
         on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
               Column 1: Codebtor                                                                        Column 2: Creditor



               Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                     that apply:

       2.1     VIP Quick Car               17985 Bear Valley Rd                                      US Metro Bank                      D   2.1
               Wash and Lube               Hesperia, CA 92345                                                                           E/F
               Inc.                        Has a Gaurantee of the Subject SBA loan
                                                                                                                                        G
                                           from US Metro Bank




    Official Form 206H                                                     Schedule H: Your Codebtors                                             Page 1 of 1
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                 Case 6:23-bk-14326-WJ                  Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                       Desc
                                                        Main Document    Page 21 of 33



     Fill in this information to identify the case:

     Debtor name        17985 Bear Valley Road LLC

     United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



    Official Form 207
    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
    The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
    write the debtor’s name and case number (if known).

     Part 1:     Income

    1. Gross revenue from business

               None.

          Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
          which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                      exclusions)

          From the beginning of the fiscal year to filing date:                               Operating a business                                 $22,825.00
          From 1/01/2023 to Filing Date
                                                                                              Other


          For prior year:                                                                     Operating a business                               $225,321.00
          From 1/01/2022 to 12/31/2022
                                                                                              Other


          For year before that:                                                               Operating a business                               $233,950.00
          From 1/01/2021 to 12/31/2021
                                                                                              Other    2021 Tax Return

    2. Non-business revenue
       Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
       and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

               None.

                                                                                          Description of sources of revenue           Gross revenue from
                                                                                                                                      each source
                                                                                                                                      (before deductions and
                                                                                                                                      exclusions)

     Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

    3. Certain payments or transfers to creditors within 90 days before filing this case
       List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
       filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
       and every 3 years after that with respect to cases filed on or after the date of adjustment.)

               None.

          Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                          Check all that apply

    4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
       List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
       or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                 Case 6:23-bk-14326-WJ                   Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                            Desc
                                                         Main Document    Page 22 of 33
     Debtor      17985 Bear Valley Road LLC                                                         Case number (if known)



        may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
        listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
        debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

               None.

          Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
          Relationship to debtor

    5. Repossessions, foreclosures, and returns
       List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
       a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

               None

          Creditor's name and address                      Describe of the Property                                        Date                Value of property


    6. Setoffs
       List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
       of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
       debt.

               None

          Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                           taken

     Part 3:     Legal Actions or Assignments

    7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
       in any capacity—within 1 year before filing this case.

               None.

                  Case title                               Nature of case              Court or agency's name and                 Status of case
                  Case number                                                          address

    8. Assignments and receivership
       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
       receiver, custodian, or other court-appointed officer within 1 year before filing this case.

               None


     Part 4:     Certain Gifts and Charitable Contributions

    9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
       the gifts to that recipient is less than $1,000

               None

                  Recipient's name and address             Description of the gifts or contributions                 Dates given                             Value


     Part 5:     Certain Losses

    10. All losses from fire, theft, or other casualty within 1 year before filing this case.

               None




    Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                  Case 6:23-bk-14326-WJ                  Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                        Desc
                                                         Main Document    Page 23 of 33
     Debtor       17985 Bear Valley Road LLC                                                          Case number (if known)



          Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
          how the loss occurred                                                                                                                            lost
                                                           If you have received payments to cover the loss, for
                                                           example, from insurance, government compensation, or
                                                           tort liability, list the total received.

                                                           List unpaid claims on Official Form 106A/B (Schedule
                                                           A/B: Assets – Real and Personal Property).

     Part 6:      Certain Payments or Transfers

    11. Payments related to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
        of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
        relief, or filing a bankruptcy case.

               None.

                   Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
                   the transfer?                                                                                                                         value
                   Address
          11.1.    Whitbeck, Kooshki & Zreik
                   LLP
                   21515 Hawthorne Bvld. Suite
                   1130                                                                                                    September
                   Torrance, CA 90503                                                                                      20, 2023                  $20,000.00

                   Email or website address


                   Who made the payment, if not debtor?
                   Member



    12. Self-settled trusts of which the debtor is a beneficiary
        List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
        to a self-settled trust or similar device.
        Do not include transfers already listed on this statement.

               None.

          Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                                   were made                             value

    13. Transfers not already listed on this statement
        List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
        2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
        both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

               None.

                  Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
                  Address                                  payments received or debts paid in exchange                was made                           value

     Part 7:      Previous Locations

    14. Previous addresses
        List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


               Does not apply

                   Address                                                                                             Dates of occupancy
                                                                                                                       From-To

     Part 8:      Health Care Bankruptcies

    15. Health Care bankruptcies
    Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                 Case 6:23-bk-14326-WJ                    Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                          Desc
                                                          Main Document    Page 24 of 33
     Debtor      17985 Bear Valley Road LLC                                                           Case number (if known)



        Is the debtor primarily engaged in offering services and facilities for:
        - diagnosing or treating injury, deformity, or disease, or
        - providing any surgical, psychiatric, drug treatment, or obstetric care?

                No. Go to Part 9.
                Yes. Fill in the information below.


                   Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                            the debtor provides                                                         and housing, number of
                                                                                                                                        patients in debtor’s care

     Part 9:     Personally Identifiable Information

    16. Does the debtor collect and retain personally identifiable information of customers?

                No.
                Yes. State the nature of the information collected and retained.

    17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
        profit-sharing plan made available by the debtor as an employee benefit?

                No. Go to Part 10.
                Yes. Does the debtor serve as plan administrator?


     Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

    18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
        moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.

               None
                   Financial Institution name and           Last 4 digits of            Type of account or          Date account was                 Last balance
                   Address                                  account number              instrument                  closed, sold,                before closing or
                                                                                                                    moved, or                             transfer
                                                                                                                    transferred

    19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
        case.


               None

          Depository institution name and address                 Names of anyone with                  Description of the contents                Does debtor
                                                                  access to it                                                                     still have it?
                                                                  Address

    20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
        which the debtor does business.


               None

          Facility name and address                               Names of anyone with                  Description of the contents                Does debtor
                                                                  access to it                                                                     still have it?


     Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own




    Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                 Case 6:23-bk-14326-WJ                   Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                            Desc
                                                         Main Document    Page 25 of 33
     Debtor     17985 Bear Valley Road LLC                                                          Case number (if known)




    21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
        not list leased or rented property.

           None


     Part 12:    Details About Environment Information

    For the purpose of Part 12, the following definitions apply:
         Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
         medium affected (air, land, water, or any other medium).

         Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
         owned, operated, or utilized.

         Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
         similarly harmful substance.

    Report all notices, releases, and proceedings known, regardless of when they occurred.

    22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

                No.
                Yes. Provide details below.

          Case title                                            Court or agency name and              Nature of the case                            Status of case
          Case number                                           address

    23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
        environmental law?

                No.
                Yes. Provide details below.

          Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                                address

    24. Has the debtor notified any governmental unit of any release of hazardous material?

                No.
                Yes. Provide details below.

          Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                                address

     Part 13:    Details About the Debtor's Business or Connections to Any Business

    25. Other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
        Include this information even if already listed in the Schedules.

              None

       Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           Dates business existed

    26. Books, records, and financial statements
        26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
                 None

          Name and address                                                                                                                 Date of service
                                                                                                                                           From-To

        26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
    Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 5
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                Case 6:23-bk-14326-WJ                     Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                        Desc
                                                          Main Document    Page 26 of 33
     Debtor     17985 Bear Valley Road LLC                                                            Case number (if known)



              within 2 years before filing this case.

                 None


        26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                 None

          Name and address                                                                                 If any books of account and records are
                                                                                                           unavailable, explain why

        26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
             statement within 2 years before filing this case.

                 None

          Name and address

    27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?

               No
               Yes. Give the details about the two most recent inventories.

                 Name of the person who supervised the taking of the                      Date of inventory        The dollar amount and basis (cost, market,
                 inventory                                                                                         or other basis) of each inventory

    28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
        in control of the debtor at the time of the filing of this case.

          Name                                     Address                                              Position and nature of any              % of interest, if
                                                                                                        interest                                any
          Norik Bagramian                          17985 Bear Valley Rd                                 Memeber                                 88
                                                   Hesperia, CA 92345



    29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
        control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


               No
               Yes. Identify below.


    30. Payments, distributions, or withdrawals credited or given to insiders
        Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
        loans, credits on loans, stock redemptions, and options exercised?

               No
               Yes. Identify below.

                 Name and address of recipient              Amount of money or description and value of                Dates               Reason for
                                                            property                                                                       providing the value

    31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

               No
               Yes. Identify below.

       Name of the parent corporation                                                                        Employer Identification number of the parent
                                                                                                             corporation




    Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 6
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                 Case 6:23-bk-14326-WJ                   Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                    Desc
                                                         Main Document    Page 27 of 33
     Debtor     17985 Bear Valley Road LLC                                                          Case number (if known)



    32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

                No
                Yes. Identify below.

       Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                           fund

     Part 14:    Signature and Declaration

         WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
         connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
         18 U.S.C. §§ 152, 1341, 1519, and 3571.

         I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
         and correct.

         I declare under penalty of perjury that the foregoing is true and correct.

     Executed on        September 21, 2023

     /s/ Norik Bagramian                                            Norik Bagramian
     Signature of individual signing on behalf of the debtor        Printed name

     Position or relationship to debtor
                                          Managing
    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
       No
                                          Member
       Yes




    Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 7
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                  Case 6:23-bk-14326-WJ                     Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                     Desc
                                                            Main Document    Page 28 of 33
    B2030 (Form 2030) (12/15)
                                                            United States Bankruptcy Court
                                                                 Central District of California
     In re       17985 Bear Valley Road LLC                                                                       Case No.
                                                                                  Debtor(s)                       Chapter       11

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
    1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
          compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
          be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                 For legal services, I have agreed to accept                                                  $                 20,000.00
                 Prior to the filing of this statement I have received                                        $                 20,000.00
                 Balance Due                                                                                  $                       0.00

    2.    The source of the compensation paid to me was:

                      Debtor             Other (specify):      Member Norik Bagramian

    3.    The source of compensation to be paid to me is:

                      Debtor             Other (specify):

    4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

    5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

          a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
          b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
          c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
          d. [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

    6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                  Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
                  any other adversary proceeding.
                                                                         CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

         September 21, 2023                                                       /s/ Sammy Zreik, Esq
         Date                                                                     Sammy Zreik, Esq
                                                                                  Signature of Attorney
                                                                                  Whitbeck, Kooshki & Zreik LLP
                                                                                  21515 Hawthorne Blvd. Suite 1130
                                                                                  Torrance, CA 90503
                                                                                  888-972-9477 Fax: 310-540-1112
                                                                                  sammy.zreik@wkzlaw.com
                                                                                  Name of law firm
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
              Case 6:23-bk-14326-WJ                     Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                                    Desc
                                                        Main Document    Page 29 of 33
     Attorney or Party Name, Address, Telephone & FAX Nos.,                           FOR COURT USE ONLY
     State Bar No. & Email Address
     Sammy Zreik, Esq
     21515 Hawthorne Blvd. Suite 1130
     Torrance, CA 90503
     888-972-9477 Fax: 310-540-1112
     California State Bar Number: 249020 CA
     sammy.zreik@wkzlaw.com




         Debtor(s) appearing without an attorney
         Attorney for Debtor

                                                       UNITED STATES BANKRUPTCY COURT
                                                        CENTRAL DISTRICT OF CALIFORNIA

     In re:
                                                                                      CASE NO.:
                17985 Bear Valley Road LLC
                                                                                      CHAPTER: 11




                                                                                                         VERIFICATION OF MASTER
                                                                                                        MAILING LIST OF CREDITORS

                                                                                                                       [LBR 1007-1(a)]

                                                                  Debtor(s).

    Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
    master mailing list of creditors filed in this bankruptcy case, consisting of 2 sheet(s) is complete, correct, and
    consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

     Date: September 21, 2023                                                                /s/ Norik Bagramian
                                                                                             Signature of Debtor 1

     Date:
                                                                                             Signature of Debtor 2 (joint debtor) ) (if applicable)

     Date: September 21, 2023                                                                /s/ Sammy Zreik, Esq
                                                                                             Signature of Attorney for Debtor (if applicable)




                      This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
    December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
             Case 6:23-bk-14326-WJ            Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27   Desc
                                              Main Document    Page 30 of 33


        }
        b
        k
        1
        {
        C
        r
        e
        d
        i
        t
        o
        A
        s
        M
        a
        x




                                         17985 Bear Valley Road LLC
                                         17985 Bear Valley Rd
                                         Hesperia, CA 92345


                                         Sammy Zreik, Esq
                                         Whitbeck, Kooshki & Zreik LLP
                                         21515 Hawthorne Blvd. Suite 1130
                                         Torrance, CA 90503


                                         American Default Management
                                         415 N. Camden Dr. Unit 8
                                         Beverly Hills, CA 90210


                                         County of San Bernardino-Treasurer
                                         268 W. Hospitality Lane,
                                         First Floor
                                         San Bernardino, CA 92415


                                         Law Offices of Park & Lim
                                         3530 Wilshire Blvd Suite 1300
                                         Los Angeles, CA 90010


                                         US Metro Bank
                                         9866 Garden Grove
                                         Garden Grove, CA 92844


                                         US Metro Bank
                                         9866 Garden Grove
                                         Garden Grove, CA 92844


                                         VIP Quick Car Wash and Lube Inc.
                                         17985 Bear Valley Rd.
                                         Hesperia, CA 92345
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
             Case 6:23-bk-14326-WJ            Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27   Desc
                                              Main Document    Page 31 of 33



                                         VIP Quick Car Wash and Lube Inc.
                                         17985 Bear Valley Rd
                                         Hesperia, CA 92345
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
               Case 6:23-bk-14326-WJ                       Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                                    Desc
                                                           Main Document    Page 32 of 33


         Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
         Email Address
         Sammy Zreik, Esq
         Whitbeck, Kooshki & Zreik LLP
         21515 Hawthorne Blvd. Suite 1130
         Torrance, CA 90503
         888-972-9477 Fax: 310-540-1112
         California State Bar Number: 249020 CA
         sammy.zreik@wkzlaw.com




              Attorney for:
                                                         UNITED STATES BANKRUPTCY COURT
                                                          CENTRAL DISTRICT OF CALIFORNIA

         In re:                                                                        CASE NO.:
                   17985 Bear Valley Road LLC                                          ADVERSARY NO.:
                                                                            Debtor(s), CHAPTER: 11

                                                                           Plaintiff(s),
                                                                                             CORPORATE OWNERSHIP STATEMENT
                                                                                                PURSUANT TO FRBP 1007(a)(1)
                                                                                                  and 7007.1, and LBR 1007-4

                                                                                                                            [No hearing]
                                                                       Defendant(s).

        Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
        a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
        corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
        of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
        Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
        statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
        inaccurate.

         I,    Norik Bagramian                                                         , the undersigned in the above-captioned case, hereby declare
                          (Print Name of Attorney or Declarant)
         under penalty of perjury under the laws of the United States of America that the following is true and correct:




        ___________________________________________________________________________
                         This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
        December 2012                                                                                                 F 1007-4.CORP.OWNERSHIP.STMT
DocuSign Envelope ID: FCDF206F-3CCB-40D4-8169-7C43BB2B158A
                  Case 6:23-bk-14326-WJ                     Doc 1 Filed 09/22/23 Entered 09/22/23 11:12:27                                                    Desc
                                                            Main Document    Page 33 of 33


        [Check the appropriate boxes and, if applicable, provide the required information.]
        1.          I have personal knowledge of the matters set forth in this Statement because:
                       I am the president or other officer or an authorized agent of the Debtor corporation
                       I am a party to an adversary proceeding
                       I am a party to a contested matter
                       I am the attorney for the Debtor corporation
        2.a.           The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
                       class of the corporation’s(s’) equity interests:
                       [For additional names, attach an addendum to this form.]
             b.        There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity interest.

         September 21, 2023                                                                       By:
         Date                                                                                             Signature of Debtor, or attorney for Debtor

                                                                                                  Name:         Norik Bargramian
                                                                                                                Printed name of Debtor, or attorney for
                                                                                                                Debtor




        ___________________________________________________________________________
                          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
        December 2012                                                                                                  F 1007-4.CORP.OWNERSHIP.STMT
